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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

 In re:

 GENIE INVESTMENTS NV INC.,                                  Case No.: 3:24-bk-00496-BAJ

             Debtor.                                         Chapter 7
 ______________________________________/

          NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES

          PLEASE TAKE NOTICE that pursuant to Rules 2002, 9007 and 9010 of the Federal

Rules of Bankruptcy Procedure, Raye C. Elliott, Esq., of Akerman LLP hereby appears in the

above-captioned case as counsel to Aaron R. Cohen, Chapter 7 Trustee, and requests service of all

notices and documents herein upon:

                        Raye C. Elliott, Esq.
                        Email: raye.elliott@akerman.com
                        Akerman LLP
                        401 East Jackson Street, Suite 1700
                        Tampa, FL 33602

          PLEASE TAKE FURTHER NOTICE that the foregoing request for service includes all

pleadings of any kind, including, without limitation, all notices, applications, motions, complaints

and orders, whether written or oral, formal or informal, however transmitted or conveyed, related

in any way to the above-captioned Debtor, its property or the estate.

          PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Service of Notices (the "Notice") nor any later appearance, pleading, proof of claim,

claim, or suit shall constitute a waiver of (i) the right to have final orders in noncore matters entered

only after de novo review by a District Court judge, (ii) the right to trial by jury in any proceeding

triable in this case or any case, controversy or proceeding related to this case, (iii) the right to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary


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withdrawal, (iv) any objection to the jurisdiction of this Bankruptcy Court for any purpose other

than with respect to this Notice, (v) an election of remedies, or (vi) any other rights, claims, actions,

defenses, setoffs or recoupments as appropriate, in law or in equity under any agreement, all of

which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

Dated: August 14, 2024                          AKERMAN LLP

                                                By: /s/ Raye C. Elliott
                                                   Raye C. Elliott, Esq.
                                                   Florida Bar Number: 018732
                                                   Email: raye.elliott@akerman.com
                                                   401 East Jackson Street, Suite 1700
                                                   Tampa, FL 33602
                                                   Phone: (813) 223-7333
                                                   Fax: (813) 223-2837

                                                Attorneys for Aaron R. Cohen, Chapter 7 Trustee

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 14, 2024, I filed a true and correct copy of the
foregoing with the United States Bankruptcy Court for the Middle District of Florida using the
Court’s CM/ECF system, which will serve copies on all counsel of record.

                                                       /s/ Raye C. Elliott
                                                       Attorney




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